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 1
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 5

 6   ATTORNEY FOR Defendant,
     OSCAR BARRAGAN
 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10
                                                ******
11   UNITED STATES OF AMERICA,                         Case No.: 1:14-CR-00154-009 LJO-SKO
12
                    Plaintiff,                         STIPULATION AND ORDER TO
13                                                     ADVANCE SENTENCING HEARING
            v.
14                                                     Date: October 31, 2016
     OSCAR BARRAGAN,
15                                                     Time: 8:30 a.m.
                    Defendant.                         Courtroom: 4
16                                                     Hon. Lawrence J. O’Neill

17   TO:    THE HONORABLE JUDGE LAWRENCE J. O’NEILL, AND TO ASSISTANT
            UNITED STATES ATTORNEY KIMBERLY A. SANCHEZ:
18

19          IT IS HEREBY STIPULATED by and between the parties hereto through their
20   respective counsel that the sentencing hearing in the above captioned matter now set for
21   Monday, October 31, 2016, at 8:30 a.m. be advanced to Monday, October 24, 2016, at 8:30
22   a.m. This request is made by both counsel with the intention of conserving time and resources
23   for both parties and the court.
24   ///
25   ///
26   ///
27   ///
28   ///
                                                      1
                            STIPULATION AND [PROPOSED] ORDER TO ADVANCE HEARING
                                      CASE NO.: 1:14-CR-00154 LJO-SKO
     Case 1:14-cr-00154-JLT-SKO Document 205 Filed 10/20/16 Page 2 of 2
 1   IT IS SO STIPULATED.

 2                                            Respectfully submitted,

 3   DATED:      October 19, 2016       By: /s/ Anthony P. Capozzi
                                            ANTHONY P. CAPOZZI
 4                                          Attorney for Defendant OSCAR BARRAGAN
 5

 6

 7   DATED:      October 19, 2016       By: /s/ Kimberly A. Sanchez
                                            KIMBERLY A. SANCHEZ
 8                                          Assistant United States Attorney
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10

11                                              ORDER

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13          Based upon the stipulation of the parties and good cause appearing therefor, it is hereby

14   ORDERED that the date of the sentencing hearing of the defendant in the above-entitled case

15   be advanced from Monday, October 31, 2016, at 8:30 a.m. to Monday, October 24, 2016, at

16   8:30 a.m.

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18   IT IS SO ORDERED.
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        Dated:    October 20, 2016                        /s/ Lawrence J. O’Neill _____
20                                                UNITED STATES CHIEF DISTRICT JUDGE

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                          STIPULATION AND [PROPOSED] ORDER TO ADVANCE HEARING
                                    CASE NO.: 1:14-CR-00154 LJO-SKO
